Case 3:19-cv-01281-JLS-BLM Document 8 Filed 09/06/19 PageID.93 Page 1 of 9



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 2 OGLETREE, DEAKINS, NASH,
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 3 4370 La Jolla Village Drive, Suite 990
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 4 Telephone: 310-217-8191
   Facsimile: 310-217-8184
 5
     Attorneys for Defendant
 6   Southwest Key Programs, Inc. (erroneously sued as
     Southwest Key Program, Inc.)
 7

 8
                          UNITED STATES DISTRICT COURT
 9
                       SOUTHERN DISTRICT OF CALIFORNIA
10

11
   MARIA HERNANDEZ, an individual;           Case No. 3:19-cv-01281-JLS (BLM)
12 ROBERTO NAVA, an individual; and
   AZAEL SANCHEZ, an individual,
13                                           DECLARATION OF LYNE A.
                 Plaintiff,                  RICHARDSON
14
           v.
15
     SOUTHWET KEY PROGRAM, INC.,
16   a foreign nonprofit; and DOES 1
     through 50,
17
                                             Complaint Filed: June 4, 2019
18
                 Defendant.                  Trial Date:      None
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                                     1          Case No. 3:19-cv-01281-JLS (BLM)
                     DECLARATION OF LYNE A. RICHARDSON
Case 3:19-cv-01281-JLS-BLM Document 8 Filed 09/06/19 PageID.94 Page 2 of 9



 1   I, Lyne A. Richardson, declare:
 2         1.     I am an attorney at law duly licensed and admitted to the United States
 3   District Court for the Southern District of California. I am an attorney with the law
 4   firm of Ogletree, Deakins, Nash, Smoak & Stewart, P.C., counsel of record for
 5   Southwest Key Programs, Inc. (erroneously sued as Southwest Key Program, Inc.)
 6   (“Defendant” or “Southwest Key”). I am familiar with the facts and circumstances
 7   reflected below and surrounding this litigation. If called as witness, I could and
 8   would competently testify to the following.
 9         2.     The deadline for the parties to file a joint motion for a protective order
10   is currently September 6, 2019, pursuant to the Scheduling Order Regulating
11   Discovery and Other Pre-Trial Proceedings.
12         3.     The parties are still meeting and conferring regarding the terms of their
13   agreement for handling confidential documents and information, and have therefore
14   stipulated to a one-week continuance of the deadline to file a joint motion for a
15   protective order. Attached hereto as Exhibit A is a true and correct copy of the Joint
16   Stipulation to Continue Deadline to File Joint Motion for Protective Order.
17         I declare under penalty of perjury under the laws of the State of California and
18   the United States of America that the foregoing is true and correct.
19         Executed on this sixth day of September, 2019 in Torrance, California.
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                                                   /s/ Lyne A. Richardson
21                                                 Lyne A. Richardson
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                                      2          Case No. 3:19-cv-01281-JLS (BLM)
                      DECLARATION OF LYNE A. RICHARDSON
Case 3:19-cv-01281-JLS-BLM Document 8 Filed 09/06/19 PageID.95 Page 3 of 9




                     EXHIBIT A


                                         3
Case 3:19-cv-01281-JLS-BLM Document 8 Filed 09/06/19 PageID.96 Page 4 of 9



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   Facsimile: 310-217-8184
 5
     Attorneys for Defendant
 6   Southwest Key Programs, Inc. (erroneously sued as
     Southwest Key Program, Inc.)
 7

 8
                          UNITED STATES DISTRICT COURT
 9
                       SOUTHERN DISTRICT OF CALIFORNIA
10

11
   MARIA HERNANDEZ, an individual;           Case No. 3:19-cv-01281-JLS (BLM)
12 ROBERTO NAVA, an individual; and
   AZAEL SANCHEZ, an individual,
13                                           JOINT STIPULATION TO
                 Plaintiff,                  CONTINUE DEADLINE TO FILE
14                                           JOINT MOTION FOR PROTECTIVE
           v.                                ORDER
15
     SOUTHWET KEY PROGRAM, INC.,
16   a foreign nonprofit; and DOES 1
     through 50,
17

18
                 Defendant.
                                             Complaint Filed: June 4, 2019
19                                           Trial Date:      None
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                                  1         Case No. 3:19-cv-01281-JLS (BLM)
         JOINT STIPULATION TO CONTINUE DEADLINE TO FILE JOINT
                     MOTION FOR PROTECTIVE ORDER
                                            4
Case 3:19-cv-01281-JLS-BLM Document 8 Filed 09/06/19 PageID.97 Page 5 of 9



 1   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         Plaintiffs Maria Hernandez, Roberto Nava, and Azael Sanchez (“Plaintiffs”)
 3   and Defendant Southwest Key Programs, Inc. (erroneously sued as Southwest Key
 4   Program, Inc.) (“Defendant”), by and through their respective counsel of record,
 5   hereby stipulate and agree as follows:
 6         WHEREAS, pursuant to the Scheduling Order Regulating Discovery and
 7   Other Pre-Trial Proceedings dated August 21, 2019, the parties shall file any joint
 8   motion for a protective order by September 6, 2019;
 9         WHEREAS, the parties are still meeting and conferring regarding the terms of
10   their agreement for handling confidential documents and information;
11         WHEREAS, the parties have agreed to stipulate to a one-week continuance of
12   the deadline to file the joint motion for a protective order;
13         NOW THEREFORE, in consideration of the foregoing, the parties, by and
14   through their undersigned counsel, hereby stipulate, agree, and request that the Court
15   enter an Order to continue the deadline to file any joint motion for a protective order
16   to September 13, 2019.
17   IT IS SO STIPULATED.
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20   DATED: September 6, 2019                 MARLIS LAW, P.C.
21

22
                                              By: /s/ Brent P. Marlis
23                                                Brent P. Marlis
                                                  Young K. Park
24                                                Attorneys for Plaintiffs
                                                  Maria Hernandez, Roberto Nava, Azael
25                                                Sanchez
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                                  2         Case No. 3:19-cv-01281-JLS (BLM)
         JOINT STIPULATION TO CONTINUE DEADLINE TO FILE JOINT
                     MOTION FOR PROTECTIVE ORDER
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Case 3:19-cv-01281-JLS-BLM Document 8 Filed 09/06/19 PageID.98 Page 6 of 9



 1
     DATED: September 6, 2019         OGLETREE, DEAKINS, NASH, SMOAK &
 2                                    STEWART, P.C.
 3

 4
                                      By: /s/ Lyne A. Richardson
 5                                        Lyne A. Richardson
                                          Attorneys for Defendant
 6                                        Southwest Key Programs, Inc.
                                          (erroneously sued as Southwest Key
 7                                        Program, Inc.)
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                                 3         Case No. 3:19-cv-01281-JLS (BLM)
        JOINT STIPULATION TO CONTINUE DEADLINE TO FILE JOINT
                    MOTION FOR PROTECTIVE ORDER
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Case 3:19-cv-01281-JLS-BLM Document 8 Filed 09/06/19 PageID.99 Page 7 of 9



 1                                  Signature Certification
 2   Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies and
 3   Procedures Manual, I hereby certify that the content of this document is acceptable
 4   to Plaintiff’s counsel, Brent Marlis, and that I have obtained Mr. Marlis’
 5   authorization to affix his electronic signature to this document.
 6
     DATED: September 6, 2019               By: /s/ Lyne A. Richardson
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                                  4         Case No. 3:19-cv-01281-JLS (BLM)
         JOINT STIPULATION TO CONTINUE DEADLINE TO FILE JOINT
                     MOTION FOR PROTECTIVE ORDER
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Case 3:19-cv-01281-JLS-BLM Document 8 Filed 09/06/19 PageID.100 Page 8 of 9



 1
                              CERTIFICATE OF SERVICE
 2                     Hernandez, et al. v. Southwest Key Programs, Inc.
                            Case No. 3:19-cv-01281-JLS (BLM)
 3
          I am and was at all times herein mentioned over the age of 18 years and not a
 4 party to the action in which this service is made. At all times herein mentioned I have
   been employed in the County of Los Angeles in the office of a member of the bar of
 5 this court at whose direction the service was made. My business address is 19191 S.
   Vermont Avenue, Suite 950, Torrance, CA 90502.
 6
           On September 6, 2019, I served the following document(s):
 7
                       DECLARATION OF LYNE A. RICHARDSON
 8
     by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as
 9   follows:
10   ☒     BY MAIL: I placed the envelope for collection and mailing, following our
           ordinary business practices. I am readily familiar with the practice of Ogletree,
11         Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
           correspondence for mailing. On the same day that correspondence is placed for
12         collection and mailing, it is deposited in the ordinary course of business with
           the United States Postal Service, in a sealed envelope with postage fully prepaid.
13
     ☐     BY CM/ECF: With the Clerk of the United States District Court of California,
14         using the CM/ECF System. The Court’s CM/ECF System will send an e-mail
           notification of the foregoing filing to the parties and counsel of record who are
15         registered with the Court’s CM/ECF System.
16   ☒     (Federal)    I declare that I am employed in the office of a member of the State
                        Bar of this Court at whose direction the service was made. I
17                      declare under penalty of perjury under the laws of the United States
                        of America that the above is true and correct.
18
            I declare under penalty of perjury under the laws of the United States of America
19   that the above is true and correct.
20
           Executed on September 6, 2019, at Torrance, California.
21

22
                                                   Carolina Martis
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                                                                Case No. 3:19-cv-01281-JLS (BLM)
                               CERTIFICATE OF SERVICE
                                               8
Case 3:19-cv-01281-JLS-BLM Document 8 Filed 09/06/19 PageID.101 Page 9 of 9



 1                                     SERVICE LIST
 2
     Brent P. Marlis, Esq.                     Attorneys for Plaintiffs
 3   Young K. Park, Esq.                       MARIA HERNANDEZ, ROBERTO
     MARLIS LAW, P.C.                          NAVA and AZAEL SANCHEZ
 4   10940 Wilshire Blvd., Suite 600
     Los Angeles, CA 90024
 5   Tel:      (310) 431-9355
     Fax:     (424) 293-0516
 6   Email: brent@marlislaw.com
              young@marlislaw.com
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                                                        Case No. 3:19-cv-01281-JLS (BLM)
                             CERTIFICATE OF SERVICE
                                           9
